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SU'PER|OR CQUR]' CF THE DlSTR|`CT OF COLUMB|A
CIV_IL. Dl’VISION

 

VS. C.A. No. 2011 CA 000118 B
BANK OF A.MERICA CORP.

' INITIAL 0RDER AND ADDENDQM

Pursuant to D.C. Code § 11~906 and District of Columbia Superior Court Rule of Civil Procedure
(“SCR Civ") 40-1, it is hereby ORDERED as follows:

 

(l) Eti`ective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judgo’s name beneath the case number in the caption On
filing any motion or paper related thereto, one copy (for the judgc) must be delivered to the Clcrk along with the

original.

(2) Within 60 days of the filing of the complaint, plaintiff must tile proof of serving on each defendant:
copies of the Summons, the Complaint, and this Inltial Order. As to any defendant for whom such proof of
service has not been iiied, the Complaint will be dismissed without prejudice for want of prosecution unless the
time for serving the defendant has been extended as provided in SCR Civ 4(m).

_ (3) Within 20 days of service as described above, except as otherwise noted in SC_R Civ 12, each defendant
must respond to the Complaint by filing an Answer or other responsive pleading. As to the defendant who has
failed to respond, a default and judgment will be entered unless the time to respond has been extended as

provided in SCR Civ 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial Scheduling and Settlem_ent Cont`erence to discuss the possibilities of settlement and
to establish a schedule for the completion of all proceedings, tncludlng, nonnally, either mediation, case
~evaluati`on, or arbitration Counsel shall discuss with their clients grigg to the conference whether the clients are
agreeable to binding or non~binding arbitration This order is thc only notice that parties and counsel will

receive concerning this Confcrenee.

(5) Upo.n advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (2'02) 879~1750 may continue the Confer.ence' grigp_, with the consent of all parties, to either of thc two
succeeding Fridays. Requ`est must be made not less than six business days before the scheduling conference date. .
No other continualth of the conference will be granted except upon motion for good cause shown.

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each Judge‘s Supplernent to the General Order and the General Mediation Order. Copies of these‘orders

are available in the Courtroom and on the Cour.t’s websi_te mp_/_/M.d,c$&_ugs.gojd
‘chieriudg¢ Lee r'. sauerneid

Case Assigned to: Judge JUDiT-H N MACALUSO
Date: Janu . 6 2011
Initial Conference: 9:30 am, Friclay, April 08, 2011
Location: Oourtroom 415
500 Indiana Avenue N.W.
WASHINGTON, DC 20001

EXHIBIT A

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ADDENDUM TO INITIAL ORDER AFFE CTING
ALL MED'ICAL MAL`PRACTICE CASES

In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § l6-2801,
et seq. (2007 Winte_r Supp.), "[a]iier an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation,_ without
discovery or, if all parties agree[.] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement '['he early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC." D.C. Code § 16-

2821.

'I`o ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mcdiator. Infcrmation about the early mediation date also is available over
the internat at https://www:dccourts.gov/pa/. 'l'o facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (l O) calendar days'prior to the
ISSC. 'l`wo separate Early Mediation Forrns are available Both forms may be obtained at
www.dccourts.gov/mcdmalmediation. One form is to be used for early mediation with a mediator
from the multi-door medical malpractice mediator rostcr; the second form is to be used for early
mediation with a private mcdiator. Both forms also are available in the Mulli~Door Dispute
Resolution Office, Suite 105, Sl5 Sth Street, N.W. (enter at Police Memorial Plaza entrance).
Plaintiti's counsel is responsible for el.~`.iling the form and is required to e~mail a courtesy copy to
earlyrnedmal@dcsc.gov. Pro se Piaintiffs who elect not to eFile may file by hand in the Multi-Door

Dispute R.esolution Ofiice.

A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resoiution 'Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation D.C. Code
§ 16'2823(41). If the parties cannot agree on a mediator, thc Court will appoint one. D.C. Code §

l 6-2_823(b).

'l'he following persons are rcqui-'red_'by statute to attend personally the Early Mediation
Conference: (1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, `a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
ma n.c. code § 16-2324.

No later than ten (10) days after the early mediation session has terminated l’laintiii` must
eFile with the Court a report prepared by the mediator. including a private mediator, regarding (1)
attendancc; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispme, limit discovery, facilitate ttrture settlement hold
another mediation session, or otherwise reduce the cost and time of trial preparation D.C. Code §
16~2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil Clerk's
Office. The forms to be used for early mediation reports arc available at

www.dccourts.gov/rnedmalmediation.
Chief Judge Lee F. Satterfield

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Plain!ijf
,iui Civil Aciion Noi l::::i
BANK OF AMER|CA CORP.
Defendam
SUM»MON-S

'l`o the above named l`lefendant:

Vou are hereby summoned and required to serve art Answer to the attached Com-plai.rit, either
person§iily or through an attoriie , within twenty (20) days after service of this summons vu on your
exclusive of the da ‘of serviee. f `ou are being sued us en officer or agency of the United tates
Govemment or the istii’ct of Colum ia Gove'rnment you have 60 days after service of this summons to
serve your Answer. A copy of the Answcr must be mailed to tlie §tto_mc' for the party plaintiff who is
suing you. Tlie attorney’s name apd address appear below. If laintiff as ito attorney, a copy of the
Arrwver must be mailed to tlie.plami:iff al the address stated on `s Surriirioris.

You_wealsoiequixed_to ileilieorigiria]Ar_suerwiththe~ComtinRoom$OOOat SOOIndiana
Avenue NW. between 9:00 imi. and 4:00 prit., Mo'ndays through Frid_ays or between 9:00 am, and
12:00 N'oon on Satu'days. You may file the original A_nsv\er wit the Court either before you serve g
copiyofd\e ~"mdnplakni§orwdthiw'($)days'afcu"ymihaveseivedti_ieplaintifrIfy_dlfall
to lie gm Answer, Ju:lgment by default may be entered against you for the relief 'demanded'in the
comp aint. ~ .

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Name of P|ainiitl”s Attnuy

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PUEDE OBTENERSE COPIAS DE ESTE FORMULAR!O EN ESPANOL EN EL TRFBUNAL SUPER]OR DEL
D]STRITO DE~COLUMB!A. 530 IND[ANA AVENUE. N.W.. SALA 5000. ‘

YOU MAY OBTA!N A COP\’ OF 'D'iiS FORM li\‘ ‘.SPANISH AT 'l`HE SUPERlOR COUI'\'T OF D.C.. 500 iND]ANA
AVENUE. N,W.. ROOM 5000.

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NO'I`E: SF.,E. IMPORTANT WFORMATK)N ON BACK O|" Tl'llS FORM.

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lMPORTANT: lF YOU FAIL- 'I'O SERVE AND FILB AN ANSWER. WiTHIN THE TIME
'SWED ABOVE, OR IF, AFTER YOU ANSWEI`<, YOU FAIL TO AI’PEAR AT A`NY TIME THE
COUR'|' NO'l'll"li`:)S YOU 'i`O DO SO, A JUDGMENT BY D`EFA-ULT MAY BE ENTERED
AGA]NST YOU FOR THE MONEY DAMAGES OR OTHER_ RELIBF DEMANDED IN THE

CDMPLAINT, IF THIS OCCURS, YOUR WA.GES MAY BE ATFACHED OR Wl'|`!'iHBLD OR
OWN MAY BE TAKEN 'SOLD TO PAV

PERSONAL PRGPERTY OR REAL `ESTATE YOU _
'I'HE JUDGMENT. IF YOU lNTE`ND TO CPPOSE THlS ACTIO`N, `DO NOT FAJL T0 ANSWER
WITHJN THE REQUIRED M ` '

A\‘.D li` you wish to talk to a lawyer and feel that you cannot afford to pay ii fee to a lawyer, promptly contact
one of the offices of the l.~cgai Aid Society (628-| l6l) or the N¢tgvborhood mut Sm'tees (682-2700) t‘or li¢\p
or come to Room 5000 ut 500 lndiant\ Avcnuc, N.W., for more information concerning where you may

ask For such help.

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SUPERIOR `COURT OF THE DISTRICT O'F COLUMBIA

   
 

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100 N. Tryon St `
charlottea Nc 28255
DEFENDANT.

COMPLAINT FOR DECLARATORY JUDGMENT
AND EQUITABLE RELIEF

INTRODUCTION
'Iltis action arises as a result of Defendarit Bank of`America Coiporation‘s written
intent to breach it's agreement with Pleintiff Susan Veres.to freeze any foreclosure
`eet;ivities, including acceleration of thc'mortgage contraet, pending ila good ifaith
review of Plaintifi“s application to thc Making l-iome Affordablc Program and other
home retention programs for which Plaintiff may be eligible Also P'laintiff seeks the
court to compel Defendants to provide Plai.ntift` with a copy of the complete loan

documents including the FHA Spot Approval Forrns.

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PARTIBS

Susan vetes is a District of oolumbia resident at 4200 cannon Ave. Nw #1016

20016.

Bank of Arnerica is a national corporation with several offices located in the District
of Colurnbia.

JURJSDICTION
'l"his court has personal and subject matter jurisdiction as the parties controversy arose

in the Disti'iet of Colurribia.

RELEVANT FACTS
At or around Decernber 22, 2008 Plaintif`f purchased a condominium at 4200
Cathedral Ave NW unit 1016 in the Distn'ct of Coluntbie. The lender was George
Mason Mcrtgage located in Fairt`ax Virginia. The property, which was not an FHA
pre.approved property was insured by the FHA based upon the “spot approval" or
"spot loan" process Within months of Plaintift‘s move into the pro'perty,. Plaintiff
discovered several improprieties with regard to the condominium's financial condition
at the time of purchase, including an undisclosed 4 million loan, hidden current and
pending assessments and construction projects Plaintii`f filed suit in the DC Superior
Court against the condominium‘s management company on the specific issue of
failing to disclose information about the 4 million dotlar loan and the

issue was resolved in a settlement in September 2010. Following settlement ofthe

matter with the condominium management company, Plaintiff began to research

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whether the mortgage loan itself should be voided outright due to the aforementioned
improprieties and that information provided for the spot approval was also inaccurate
Somcwhere during this contentious`period with the condominium, between Febnrary
2009 and Septernber 2010, Defendant Bank of America either purchased or serviced
Plaintii’i‘s mortgage This was in spite of the fact that in 2006, the parties stipulated
that they would no longer have a business relationship as a result of a settled lawsuit
in the DC Superior Court Small Claims and Conci-liation Branch regarding alleged
unethical practices involving assessments ofbank'fees and manipulation of deposit
dates and times in a checking account which Plainti~'ffmaint-ained at the bank for 10
years Plaintiii` did contact Defend‘ant to obtain a copy of the FH.A documentation

- provided by the condominium and they stated that Piaintifi`would have to go into a
Bank ofArnerica Mortgage Ofiice to request such information Aiter several days of
unsuccessfully trying to call one of these offices to set up an appointment, Plaintiff
contacted a random oft-ice in Maryland and was told that the information was
erroneous and that.a Mortgage office would not be able to obtain such `a document It
was also in August 2010, Plaintil‘f learned that her salary would be cut in half at

_ anytime due to budget shortfalls at herjob. At that time Plaintiff` researched President
Obarna's Makingi-Ione Affordable Program and contacted Defendant. Plaintifi` at that
time had never missed a. mortgage payment and acted preemptive and in good faith in
accordance with the President's program but was denied help or relief from the
Dei'endant. Defendant stated in a recorded conversation in August that Plaintit`f would
have to miss at least three mortgage payments before it would entertain any relief
under any program Plaintiff not knowing when her salary reduction would actually

take cii'ect did not make any mortgage payments between August and October

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. although Plaintiff did make complete monthly condominium assessment payments
during that time. Plaintiii" again contacted Defendants at or around Novernber l§,ZOl 0
to again seek relief and make a partial mortgage payment of $500. Del’endant stated
that Pl.aintiff did pre~qualify for the Making Home Affordable Program and a
forbearance and sent the appropriate forms which Plaintiff completed and mailed by
Fedcral Express on December 4, 2010. Defendant also accepted Plaintifi‘s $500
payment as a phone check on Novcmbcr l$, 2010. Plaintiff was also told that no

foreclosure activities would commence as long as the application was in review.

At or around Deeember 13. 2010 Plaintifi' made another phone payment of $2,607
which Det`endant also accepted Plainti'ff contacted Det"endant to check on status of
payment and was informed that Defendant's customer service department inputted the
payment with multiple account digit error-s. Plaintil’f ' was initially told that the
payment could not be corrected so Plaintifi` called back to get a different agent who

did ultimately correct the error and accept the payment

At or around Deeember 23,2010 Plaintiff called back Defendant again on the status cf
the Making I~Iorne Aii`ordable application where P~laintiff was told that the reviewer
was scheduled to make a decision by May, 2010 and again that no foreclosure
activities would commence prior to the decision on the application Plaintiff was also
told at that time only after making a specific inquiry.about the payments that Plaintiii‘s
prior two payments of SSOO and $2,607 were heing returned by Plaintii'f‘s bank. Upon
further inquiry these returns were not due to insufiicient funds but due to errors made

by the Dei`endant on their submission of the payments Defendants have never sent

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Plaintiff any communication whatsoever that any payments,whieh they knew were

returned by their error, were outstanding Hacl Plaintit`f not checked on these

payments, Plaintiffs would have been deemed non~responsive.

K~nowing that no payments had been accepted, at or around Deceniber 20,20]0
Plaintiff nonetheless received a letter which stated that foreclosure proceedings were
going to commence on January 13,201`1 and that should Plaintifffpay any past due
arnounts, any payments returned for any reason would provide them justincation to '

accelerate the loan making it due and payable in full in addition to attorney fees.

ISSUES

l. Plaintift`is'entitled~upon request documents submitted to FHA by the lender which
are germane to the validity of the mortgage l’oan.
2. Dcfendant's letter to begin foreclosure is a breach ofthe patties' modified
agreement that Defendant would not commence foreclosure activities while a Mal<ing
l-Io'me Ai‘fordable application or other application f`or relief is pending
3. Defendant's negligence in submission errors, sabotage or frustrating Plaintlft“s good
faith efforts to pay is a violation in tort or statute to foreclose on the property'in bad
faith improperly `

RBLIEF SOUGHT
Plaintift'seeks equitable relief to compel Defendant to provide spot approval
documentation, stay any foreclosure activities until these issues are resolved by the
court and to prohibit Defcndant from any retaliatory conduct which would result in an

unethical or unlawful attempt to foreclose on Plaintiff‘s property or deny Plainti-l'l`

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acceptance into the Making Home Affordablc Program cr any other program offered
to similarly situated clients for mortgage relief
JURY DEMAND

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§'zw \/W l)uln

Susan Veres
4200 Cathedral Ave #l016
Washingto.n, DC 20016

